Case 8:19-cv-01257-JFW-PJW Document 24 Filed 07/30/19 Page 1 of 3 Page ID #:96



  1   Richard J. Grabowski (State Bar No. 125666)
      Ryan D. Ball (State Bar No. 321772)
  2   Jack Williams IV (State Bar No. 309154)
      JONES DAY
  3   3161 Michelson Drive, Suite 800
      Irvine, California 92612
  4   Tel: 949.851.3939
      Fax: 949.553.7539
  5   Email: rgrabowski@jonesday.com
      Email: rball@jonesday.com
  6   Email: jackwilliams@jonesday.com
  7   Attorneys for Defendant
      EXPERIAN INFORMATION
  8   SOLUTIONS, INC.
  9
                           UNITED STATES DISTRICT COURT
 10
                          CENTRAL DISTRICT OF CALIFORNIA
 11
 12                                              Case No. 8:19-cv-01257-JFW-PJWx
      BRYCE ABBINK, individually and on
 13   behalf of all others similarly situated,   Hon. John F. Walter
 14                   Plaintiff,                 JOINT STATEMENT REGARDING
            v.                                   DEFENDANT EXPERIAN
 15                                              INFORMATION SOLUTIONS,
      EXPERIAN INFORMATION                       INC.’S RULE 12(b)(6) MOTION TO
 16                                              DISMISS
      SOLUTIONS, INC., et al.
 17                                              Complaint filed: June 21, 2019
                      Defendants.
 18
 19         Pursuant to Civil Local Rule 7-3 and this Court’s Standing Order, Defendant

 20   Experian Information Solutions, Inc. (“Experian”) and Plaintiff Bryce Abbink

 21   (“Plaintiff”), by and through their respective counsel, hereby submit this joint

 22   statement regarding their meet and confer efforts with respect to Experian’s

 23   forthcoming motion to dismiss pursuant to Federal Rule 12(b)(6) (the “Motion”).

 24         On July 25, 2019, Experian’s counsel, Jack Williams IV, Experian’s lead

 25   counsel, Ryan D. Ball, and Plaintiff’s lead counsel, Taylor T. Smith, participated in

 26   a conference call to discuss the Motion. The call lasted approximately 45 minutes,

 27   during which the parties discussed their respective positions. Specifically, Plaintiff’s

 28   counsel confirmed that Counts I and II of the Complaint (ECF No. 1) are the operative
                                                            JOINT CIV. L.R. 7-3 STATEMENT RE 12(b)(6)
                                                                     Case No. 8:19-cv-01257-JFW-PJWx
Case 8:19-cv-01257-JFW-PJW Document 24 Filed 07/30/19 Page 2 of 3 Page ID #:97



  1   counts against Experian, and counsel for Experian confirmed its understanding of
  2   Plaintiff’s allegations, which concern three alleged willful violations of the Fair
  3   Credit Reporting Act, (“FCRA”): (1) that Experian violated 15 U.S.C. § 1681b(c) by
  4   furnishing a consumer report without a permissible purpose; (2) that Experian
  5   violated 15 U.S.C. § 1681b(c)(2) by providing information in a pre-screened
  6   consumer report that identifies the relationship between Plaintiff and a “particular
  7   creditor or other entity;” and (3) that Experian violated 15 U.S.C. § 1681e(a) by
  8   failing to maintain reasonable procedures to avoid furnishing a consumer report to a
  9   user who lacks a permissible purpose.
 10         The principal source of disagreement between the parties concerns whether
 11   Plaintiff sufficiently alleged a willful violation of the FCRA. Relying on the Supreme
 12   Court’s decision in Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47 (2007), Experian
 13   contends that Plaintiff has failed to sufficiently allege that Experian knowingly failed
 14   to comply with the requirements of the FCRA or that it acted in reckless disregard of
 15   those requirements. In response, Plaintiff contends that the allegations contained
 16   within the Complaint demonstrate a failure to adequately investigate the request for
 17   consumer reports submitted by Defendant Lend Tech Loans, Inc. (“Lend Tech”).
 18   While Experian conceded that such allegations might state claim for negligence—
 19   i.e., that Experian failed to act reasonably—they fall short of establishing a willful
 20   violation. Despite a robust discussion, the Parties reached an impasse on this issue.
 21         In addition, Experian contends that disclosing a consumer’s total amount of
 22   student loan debt does not run afoul of § 1681b(c)(2)(C) because it does not identify
 23   Plaintiff’s relationship with any particular servicer or creditor. In response, Plaintiff
 24   argued that disclosing federal student loan information violates § 1681b(c)(2)(C)
 25   because it identifies the relationship between the borrower and the U.S. Department
 26   of Education, the ultimate holder of all federal student loan debt. Both Parties
 27   acknowledged a lack of case law or regulatory guidance on the issue. As a result,
 28   Experian argued that Plaintiff could not establish that Experian’s reading of the
                                                            JOINT CIV. L.R. 7-3 STATEMENT RE 12(b)(6)
                                                -2-                    Case No. 8:19-cv-01257-JFW-PJWx
Case 8:19-cv-01257-JFW-PJW Document 24 Filed 07/30/19 Page 3 of 3 Page ID #:98



  1   statute, even if incorrect, was objectively unreasonable.           In response, Plaintiff
  2   asserted that the statute is clear on its face. The parties reached an impasse on this
  3   issue.
  4            Counsel for Plaintiff and Experian were unable to come to an agreement that
  5   the pleadings should be amended or that Experian should not seek dismissal on any
  6   of the grounds discussed above.
  7            Pursuant to Local Rule 5-4.3.4, Ryan D. Ball hereby attests that the following
  8   signatories have authorized this filing.
  9
      Dated: July 30, 2019                        Respectfully Submitted,
 10
                                                   JONES DAY
 11
                                                   By: /s/ Ryan D. Ball
 12                                                  Ryan D. Ball
 13
                                                   Attorneys for Defendant
 14                                                Experian Information Solutions, Inc
 15
 16
      Dated: July 30, 2019                        Respectfully Submitted,
 17
                                                   WOODROW & PELUSO, LLC
 18
 19                                                By: /s/ Taylor T. Smith
                                                     Taylor T. Smith
 20
                                                  Attorneys for Plaintiff
 21                                               Bryce Abbink and the Putative Classes
 22
 23
 24
 25
 26
 27
 28
                                                            JOINT CIV. L.R. 7-3 STATEMENT RE 12(b)(6)
                                                 -3-                   Case No. 8:19-cv-01257-JFW-PJWx
